                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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 DONALD J. TRUMP,

        Plaintiff,

 v.                                                 Case No. 20-CV-1785-BHL

 WISCONSIN ELECTIONS COMMISSION,
 et al.,

       Defendants.
_____________________________________________________________________________

                     MOTION FOR ATTORNEY FEES OF DEFENDANTS
                     GEORGE L. CHRISTENSON AND JULIETTA HENRY


       Pursuant to 28 U.S.C. § 1927 and this Court’s inherent authority, defendants George L.

Christenson, in his capacity as the Milwaukee County Clerk, and Julietta Henry, in her capacity as

the Milwaukee County Elections Director (together, “Milwaukee County”), respectfully move for

an order requiring plaintiff, Donald J. Trump, and his attorneys, jointly and severally, to pay

Milwaukee County’s attorney fees in this action.

       Governor Evers’ motion for fees and costs, supporting brief, and declarations (ECF Nos.

144–151) comprehensively lay out the grounds for awarding fees in this case. Milwaukee County

joins in Governor Evers’ arguments and incorporates them by reference in support of its motion.

In addition, Milwaukee County is filing a memorandum of law in further support of its motion, as

well as a declaration from Andrew A. Jones setting forth details about the fees sought.




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Dated at Milwaukee, Wisconsin this 8th day of April, 2021.

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